                  Case 2:18-cv-03325 Document 5 Filed 04/20/18 Page 1 of 6 Page ID #:36
2 AO 121 (6/90)
TO:

                    Register of Copyrights                                                           REPORT ON THE
                    Copyright Office                                                         FILING OR DETERMINATION OF AN
                    Library of Congress                                                             ACTION OR APPEAL
                    Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                       COURT NAME AND LOCATION
        ✔ ACTION
        G                    G APPEAL                                   USDC Central District
DOCKET NO.                        DATE FILED                            350 W. First Street
                                             1/10/2018                  Los Angeles, CA 90012-4565
PLAINTIFF                                                                           DEFENDANT

Amazon Content Services, LLC et al.                                                 Set Broadcast, LLC d/b/a Setvnow; Jason Labossiere; Nelson
                                                                                    Johnson,



       COPYRIGHT
                                                              TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1 See attached Exh. A

2

3

4

5



      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                           G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                              TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                       .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                  WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order          G Judgment                                     G Yes        G No

CLERK                                                          (BY) DEPUTY CLERK                                            DATE



                    1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                       mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                    4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy
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   EXHIBIT A
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            Amazon Content Services, LLC et al. v. Set Broadcast, LLC et al
                          Representative List of Works

                                                     Registration             Registration
Title                   Copyright Registrant
                                                     Number                      Date
                     Amazon Content
Last Flag Flying                                     PA 000-206-5192 11/30/2017
                     Services, LLC
                     Amazon Content
The Wall                                             PA 000-204-3666 5/15/2017
                     Services, LLC
The Only Living      Amazon Content
                                                     PA 000-205-2210 9/7/2017
Boy in New York      Services, LLC
                     Amazon Content
Wonderstruck                                         PA 000-206-9723 11/22/2017
                     Services, LLC
Jumanji: Welcome to Columbia Pictures
                                                     PA 000-207-2805 1/25/2018
the Jungle           Industries, Inc.
Men In Black II      Columbia Pictures               PA 1-089-930             7/3/2002
                     Industries, Inc.
After Earth          Columbia Pictures               PA 1-841-452             5/31/2013
                     Industries, Inc.
Heaven is For Real   Columbia Pictures               PA 1-889-561             4/16/2014
                     Industries, Inc.
The Finest Hour      Disney Enterprises, Inc.        PA 1-989-069             5/27/2016
Desperate
Housewives, Season Disney Enterprises, Inc.          PA 1-657-587             10/28/2009
6, Episode 3
Desperate
Housewives, Season Disney Enterprises, Inc.          PA 1-711-737             12/8/2010
7, Episode 8
Desperate
Housewives, Season Disney Enterprises, Inc.          PA 1-657-587             1/9/2012
8, Episode 5
Grey’s Anatomy,
Season 1 Episode     Disney Enterprises, Inc.        PA 1-268-281             4/12/2005
Pilot
Grey’s Anatomy,
Season 2 Episode     Disney Enterprises, Inc.        PA 1-313-355             2/27/2006
214
Grey’s Anatomy,
                     Disney Enterprises, Inc.        PA 1-729-231             3/29/2011
Season 7, Episode 11
                                                                                    Exh A
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                                              Registration        Registration
Title                 Copyright Registrant
                                              Number                 Date
Okja                  Netflix Studios, LLC    PA 2-069-657       9/18/2017
                                              PA 2-069-656       9/18/2017
Death Note            Netflix Studios, LLC
The OA, Season 1
                                              PA 2-029-045       1/18/2017
Episode 1             Netflix Studios, LLC

The OA, Season 1,                                                1/18/2017
                      Netflix Studios, LLC    PA 2-029-047
Episode 4
Stranger Things,
                                              PA 2-009-919       9/26/2016
Season 2, Episode 5   Netflix Studios, LLC

Stranger Things,
                                              PA 2-009-943       9/26/2016
Season 2, Episode 7   Netflix Studios, LLC

                      Paramount Pictures
10 Cloverfield Lane                           PA 1-978-288       3/14/2016
                      Corporation

                      Paramount Pictures
Truman Show                                   PA 799-052         7/20/1998
                      Corporation

                      Paramount Pictures
Star Trek Beyond                              PA 1-994-401       7/21/2016
                      Corporation

                      Paramount Pictures
Downsizing                                    PA 2-068-615       12/22/2017
                      Corporation

                      Sony Pictures
Breaking Bad,
                      Television Inc.         PA 1-603-371       4/15/2008
Season 1, Episode 5
                      Sony Pictures
Breaking Bad,
                      Television Inc.         PA 1-603-380       4/15/2008
Season 1, Episode 6
                      Sony Pictures
Breaking Bad,
                      Television Inc.         PA 1-686-571       7/9/2010
Season 3, Episode 1



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                                                 Registration     Registration
Title                   Copyright Registrant
                                                 Number              Date
                        Sony Pictures
Breaking Bad,
                        Television Inc.          PA 1-758-566    11/1/2011
Season 4, Episode 3
Modern Family,       Twentieth Century Fox
Season 1, Episode 22 Film Corporation            PA 1-681-553    5/28/2010

                     Twentieth Century Fox
Modern Family,
                     Film Corporation            PA 1-735-792    4/21/2011
Season 2, Episode 18
                     Twentieth Century Fox
Modern Family,
                     Film Corporation            PA 1-745-994    7/14/2011
Season 2, Episode 24
American Horror         Twentieth Century Fox
Story, Season 4,        Film Corporation         PA 1-941-865    1/26/2015
Episode 10
American Horror         Twentieth Century Fox
Story, Season 5,        Film Corporation         PA 1-973-824    12/28/2015
Episode 6
                        Twentieth Century Fox
Aliens vs. Predator -
                        Film Corporation         PA 1-590-415    12/19/2007
Requiem
                        Universal City Studios
The Purge Election
                        Productions LLLP         PA 1-995-003    7/11/2016
Year
                        Universal City Studios
Jason Bourne -
                        Productions LLLP         PA 2-002-679    8/8/2016
Action
Law & Order:
Special Victims         Universal Cable
                                                 PA 1-967-998    10/19/2015
Unit, Season 17,        Productions LLC
Episode 2
Law & Order:
Special Victims         Universal Cable
                                                 PA 1-975-581    2/2/2016
Unit, Season 17,        Productions LLC
Episode 12


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                                              Registration        Registration
Title                  Copyright Registrant
                                              Number                 Date
Law & Order:
Special Victims        Universal Television
                                              PA 2-041-019       4/25/2017
Unit, Season 18,       LLC
Episode 15
Law & Order:
Special Victims        Universal Television
                                              PA 2-080-666       11/2/2017
Unit, Season 19,       LLC
Episode 5
Mr. Robot, Season 1,   Universal Network
                                              PA 1-961-149       7/14/2015
Episode 1              Television LLC
Mr. Robot, Season 1,   Universal Network
                                              PA 1-961-144       7/14/2015
Episode 3              Television LLC
Mr. Robot, Season 2,   Universal Cable
                                              PA 2-003-757       8/17/2016
Episode 5              Productions LLC
Mr. Robot, Season 2,   Universal Cable
                                              PA 2-005-193       9/8/2016
Episode 7              Productions LLC
Famous in Love,        Warner Bros.
Season 1, Episode 1    Entertainment Inc.     PA 2-031-323       5/4/2017

                       Warner Bros.
Famous in Love,
                       Entertainment Inc.     PA 2-034-633       5/26/2017
Season 1, Episode 4
Fuller House, Season Warner Bros.
1 Episode 1          Entertainment Inc.       PA 1-985-460       4/26/2016

Fuller House, Season Warner Bros.
1 Episode 5          Entertainment Inc.       PA 1-985-462       4/26/2016

Supergirl, Season 1,   Warner Bros.
Episode 1              Entertainment Inc.     PA 1-972-266       12/22/2015

Supergirl, Season 2,   Warner Bros.
Episode 8              Entertainment Inc.     PA 2-012-798       12/13/2016




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